Case 7:19-cr-00816-VB Document 35

UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
-against-

KSAON CRUTE,

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19 Cr. 816 (VB)

ORDER

Defendant
x

 

Hon. Vincent L. Briccetti, United States District Court Judge:

The Defendant, KSAON CRUTE, (Reg. No. 71262-054), currently detained at the
Metropolitan Correctional Center (MCC New York), will be filing a sentencing submission in
which the defendant’s medical and psychological condition, and treatment by the Federal Bureau
of Prisons (“BOP”), may be cited as mitigating factors therein;

It is hereby ORDERED that BOP release to Defendant's counsel of record,
Howard E. Tanner, Esq., within five business days of
this Order:

The defendant's complete medical and psychological records from the time
he entered into the custody of the Bureau of Prisons to the present.

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Honorable Vincent L. Briccetti
United States District Judge, SDNY

Dated: November 5 , 2020
White Plains, New York
